 REV 09/18                          UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF TENNESSEE
                                                          ) Case No.: 3:09-cr-00177
                                                          )
      UNITED STATES OF AMERICA                              Judge: Waverly D. Crenshaw, Jr.
                                                          )
      V.
                                                          ) Hearing Date: 5/8/2020
                                                          ) Location: ✔ Nashville      Columbia                                  Cookeville

     THOMAS EDWARD LEE                                    )
                                                          ) Court Reporter: Lise Matthews
                                                          )
  (list each defendant appearing at hearing)                Court Interpreter:
                                                          )
                                                         CRIMINAL MINUTES
  Government Attorney(s): Joseph Montminy

  Defense Attorney(s): Sumter Camp

  TRIAL PROCEEDINGS                                                          NON-TRIAL PROCEEDINGS
  1. Jury Trial*                                                              7. Initial Appearance/Arraignment
  2. Non-Jury Trial*                                                          8. Plea Hearing
  3. Sentencing Hearing Contested*                                            9. Sentencing Hearing
  4. Supervised Release Hearing-Contested*                                    10. Status conference                                           ✔
  5. Probation Revocation Hearing-Contested*                                  11. Pretrial Conference
  6. Other Evidentiary Hearing*                                               12. Supervised Release Revocation Hearing
     (Describe #6 in comments section below)                                  13. Probation Revocation Hearing
*For items 1-6, a Witness/Exhibit List is required
 and must be separately filed.                                                14. Motion Hearing
                                                                              15. Other Proceeding
JURORS (complete on day 1 only):                                                      (Describe #15 in comments section below)

   1.                                                                           7.
   2.                                                                           8.
   3.                                                                           9.
   4.                                                                           10.
   5.                                                                           11.
   6.                                                                           12.
Alt 1.                                                                       Alt 2.
  COMMENTS:


    - Telephonic status conference held.
    - Defendant sentenced to a term of imprisonment of 11 months concurrent with 188 months, followed by a 3 year term of supervised
    release.
    - Order to enter.


                                                                           Clerk of Court
   Total Time in Court:         25 minutes
                                                                           by: Kelly Parise


     Reset Form       Case 3:09-cr-00177 Document 91 Filed 05/08/20 Page 1 of 1 PageID #: 275
